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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
(Baltimore Division)

 

CAPITAL FUNDING, LLC,
Civil Action No. 1:18-CV-00215-CCB
Plaintiff,

Vv.
AVI “ZISHA” LIPSCHUTZ, et al.,

Defendants.

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DEFENDANT LARRY LIPSCHUTZ’S RESPONSE TO ORDER
REGARDING EFFECT OF AVI “ZISHA” LIPSCHUTZ’S DISMISSAL

Undersigned counsel for Larry Lipschutz respond as follows to this Court’s
October 11, 2019 Letter Order (ECF No. 55) regarding the effect of the Stipulation of
Dismissal as to Avi “Zisha” Lipschutz on Larry Lipschutz’s pending motions, ECF Nos.
34 and 45, and states as follows:

1. Undersigned counsel are not privy to the terms and conditions of the
transaction (presumably a settlement agreement) that resulted in the Stipulation of
Dismissal, and thus are not in a position to determine whether that transaction affects
Larry Lipschutz’s pending motions.

2. On October 29, 2019, undersigned counsel served on Larry Lipschutz a
letter advising him of their intention to seek leave to withdraw as his counsel under the
terms of Local Rule 101.2(a). Accordingly, undersigned counsel intend to file a motion

seeking such relief on November 6, 2019.

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3. To avoid prejudice to Larry Lipschutz, undersigned counsel respectfully

request that the Court extend the time within Larry Lipschutz, either pro se or through

new counsel, may substantively respond to the Court's inquiry set out in ECF No. 55 until

14 days after the Court resolves the forthcoming motion to withdraw.

Dated: November 1, 2019.

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Respectfully submitted,

/s/ John A. Bourgeois
John A. Bourgeois (Bar No.: 11834)
Ryan A. Mitchell (Bar No.: 29151)
KRAMON & GRAHAM, P.A.
One South Street, Suite 2600
Baltimore, Maryland 21202
(410) 752-6030
(410) 539-1269 (fax)
jbourgeois@kg-law.com
rmitchell@kg-law.com

Alan J. Garfunkel*

Law Office of Alan J. Garfunkel LLC
63 Lincoln Road

Scarsdale, New York 10583

(212) 888-7300

(212) 888-7306 (fax)
agarfunkel@garfunkel.biz

* Admitted Pro Hac Vice

Counsel for Defendant
Larry Lipschutz
